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                       UNITED STATES DISTRICT COURT
9                     CENTRAL DISTRICT OF CALIFORNIA
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11     BRYSON KRATZ, an individual,           Case No.: 2:16-CV-09370-RGK (SKx)
12                 Plaintiff,                 ORDER DISMISSING
13                                            DEFENDANT, TRANS UNION,
                                              LLC.
14                    v.
15
16     TRANS UNION, LLC.;
       EXPERIAN INFORMATION
17     SOLUTIONS, INC.; and
       EQUIFAX INFORMATION
18     SERVICES, LLC.,
19                 Defendants.
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      ORDER                                                         PAGE 1 OF 2	
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1                                           ORDER
2           Having considered Plaintiff’s Joint Motion Requesting Dismissal as to
3     Defendant, TRANS UNION, LLC., and good cause having been shown:
4           IT IS HEREBY ORDERED that the Motion is GRANTED and the above
5     captioned action is dismissed with prejudice as to TRANS UNION, LLC., with
6     both parties bearing their respective attorney’s fees and costs.
7
8           IT IS SO ORDERED.
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11 DATED: March 8, 2017
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                                             Hon. Judge R. Gary Klausner
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      ORDER                                                                PAGE 2 OF 2	
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